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                        UNITED STATES DISTRICT COURT
                       CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

 Case No. 2:22-cv-08010-DOC-KES                                       Date: August 14, 2024

 Title: D. JACOBS V. ERIC MICHAEL GARCETTI ET AL.


 PRESENT:

                    THE HONORABLE DAVID O. CARTER, JUDGE

                Karlen Dubon                                    Not Present
               Courtroom Clerk                                 Court Reporter

      ATTORNEYS PRESENT FOR                           ATTORNEYS PRESENT FOR
            PLAINTIFF:                                     DEFENDANT:
           None Present                                     None Present



        PROCEEDINGS (IN CHAMBERS): ORDER REFERRING MOTION
                                   FOR CLASS CERTIFICATION [82]

         Before the Court is Plaintiff D. Jacobs’ Motion for Class Certification. (Dkt. 82).
 In the interests of judicial economy, the Court hereby refers this motion to Magistrate
 Judge Scott for a Report and Recommendation.

        The Clerk shall serve this minute order on the parties.

 MINUTES FORM 11                                                        Initials of Deputy Clerk
 CIVIL-GEN                                                                                 kdu
